                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION
                                  No. 5:13-CV-418-BO


GARIBALDI LONGO, et al.,                      )
          Plaintiffs,                         )
                                              )
               v.                             )               ORDER
                                              )
TROJAN HORSE LTD., et al.,                    )
          Defendants.                         )


       This matter comes before the Court on defendant Ascensus Trust Company's motion to

dismiss. A hearing was held on the matter before the undersigned on October 26, 2015, in

Elizabeth City, North Carolina. For the reasons discussed below, defendant's motion is denied.

                                         BACKGROUND

       Plaintiffs filed this putative class action regarding the alleged failure of defendants to

make contributions to a "defined contributions plan," or 401(k) plan, of which plaintiffs are

beneficiaries. Plaintiffs, participating employees of defendants, allege that since January 1, 2009,

eligible participants have contributed a portion of their wages to the plan, but that beginning in

May or June 2012 defendants have failed to make deposits into the plan, notwithstanding that

they continued to deduct and withhold the regular contributions from plaintiffs' wages.

Defendants Trojan Horse, Ltd. and Glen Burnie Hauling, Inc. are trucking companies that hauled

mail for the United States Postal Service, and plaintiffs were truck-driver employees of

defendants. Plaintiffs initially filed this action under the Employee Retirement Income Security

Act of 1974 (ERISA), 29 U.S.C. §§ 1001 et seq, and named as defendants Trojan Horse, Glen

Burnie, the Trojan Horse LTD 401 (k) Plan, Brian Hicks, Susan Stubbs, Sherry Korb, Ascensus

Inc., and Frontier Trust Company. Plaintiffs seek recover of benefits under 29 U.S.C. §




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l 132(a)(l)(B) and allege that defendants breached their fiduciary duties under 29 U.S.C. §

l 132(a)(2). Plaintiffs further seek injunctive and other equitable relief under 29 U.S.C. §

l 132(a)(3) and attorneys' fees as provided in 29 U.S.C. § 1132(g).

         As the case progressed, plaintiffs voluntarily dismissed Ascensus, Inc., Frontier Trust

Company, Susan Stubbs, and Sherry Korb. Default was entered as to Trojan Horse, Glen Burnie,

Trojan Horse Ltd. 401K Plan and Brian Hicks on June 4, 2014. 1 The Court granted plaintiffs'

motion to join Capitol Expressways Inc., BDH Logistics LLC, and Ascensus Trust Company

(Ascensus Trust) as defendants on April 2, 2015. Ascensus Trust filed the instant motion to

dismiss on May 15, 2015, and a motion for entry of default as to Capitol Expressways and BDH

Logistics currently is pending. Accordingly, the only active defendant in the case is Ascensus

Trust. The remaining defendants either are in default or have been voluntarily dismissed.

                                            DISCUSSION

         Defendant has moved to dismiss this action for lack of subject matter jurisdiction and

failure to state a claim. Fed. R. Civ. P. 12(b)(l), (6).

    I.      THE COURT HAS SUBJECT MATTER JURISDICTION

         Federal Rule of Civil Procedure 12(b)( 1) authorizes dismissal of a claim for lack of

subject matter jurisdiction. When subject matter jurisdiction is challenged, the plaintiff has the

burden of proving jurisdiction to survive the motion. Evans v. B.F Perkins Co., 166 F.3d 642,

647-50 (4th Cir. 1999). "In determining whether jurisdiction exists, the district court is to regard

the pleadings' allegations as mere evidence on the issue, and may consider evidence outside the

pleadings without converting the proceeding to one for summary judgment." Richmond,

Fredericksburg & Potomac R.R Co. v. United States, 945 F.2d 765, 768 (4th Cir. 1991).

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 Default was entered as to Sherry Korb on the same date; however, plaintiffs subsequently
dismissed the action as to Ms. Korb on January 30, 2015.

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       Defendant contends that the Court is without subject matter jurisdiction to consider

plaintiffs' claims because the Secretaries of Labor and Treasury were not served with the

amended complaint by certified mail as required by 29 U.S.C. § 1132(h). Section l 132(h),

however, requires only that a "copy of the complaint" be served. § 1132(h). It is clear upon

reading the statute, that its purpose is to provide notice of private actions under ERISA to the

Secretaries such that they may exercise their right to bring suit under 29 U.S.C. § 1132(a). See,

e.g., Sec '.Y ofLabor v. Fitzsimmons, 805 F.2d 682, 701 (7th Cir, 1986) ("Thus, in granting the

Secretary enforcement powers in Section 1132 I believe Congress intended that the Secretary's

interest be the same as that of the participants and beneficiaries who also had enforcements

powers under Section 1132.").

       Here, the Secretaries of Labor and Treasury were served with the original complaint,

which named Frontier Trust Company as a party and brought identical claims to those raised in

the amended complaint. [DE 75-1]. Subsequently, Frontier Trust Company changed its name to

Ascensus Trust Company, which is the party named in the amended complaint. (DE 75-2].

Accordingly, Arthur v. Trojan Horse, Ltd., 2013 WEL 4854138 (D. Md. Sept. 10, 2013), on

which defendant relies, is inapposite. Plaintiffs in Arthur failed to serve the original and only

complaint on the Secretaries of Labor and Treasury, thus the requirements of§ 1132(h) clearly

were not met. Here, however, the Secretaries were served with the original complaint, which

named the company now known as Ascensus Trust as a party and raised identical claims against

it as are listed in the amended complaint.

       While service of an amended pleading that first asserts claims available to both plan

participants and the Secretaries may be required, here, the notice requirement and purposes of§

1132(h) clearly were satisfied by service of the original complaint. The Secretaries were aware



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of the claims and that Frontier Trust Company was a named party in the suit. The mere fact that

Frontier Trust subsequently changed its name to Ascensus Trust does not override the

Secretaries' knowledge that the company was named in the suit. Moreover, the Secretary of

Labor filed suit in the U.S. District Court for the District of Maryland on April 16, 2015,

asserting claims under ERISA with respect to the Trojan Horse LTD 401 (k) Plan, which is the

same plan at issue here. It is, therefore, particularly clear that the purposes underlying§ 1132(h)

are met and the Court has jurisdiction.2 Defendant's motion to dismiss for lack of subject matter

jurisdiction pursuant to Rule 12(b)(l) of the Federal Rules of Civil Procedure is denied.

    II.      PLAINTIFFS HA VE ST ATED A CLAIM AS TO DEFENDANT ASCENSUS TRUST

          A Rule 12(b)(6) motion tests the legal sufficiency of the complaint. Papasan v. Attain,

478 U.S. 265, 283 (1986). When acting on a motion to dismiss under Rule 12(b)(6), "the court

should accept as true all well-pleaded allegations and should view the complaint in a light most

favorable to the plaintiff." Mylan Labs., Inc. v. Matkari, 7 F.3d 1130, 1134 (4th Cir.1993). A

complaint must allege enough facts to state a claim for relief that is facially plausible, meaning

that recitals of elements and conclusory statements do not suffice. Bell Atlantic Corp. v.

Twombly, 550 U.S. 544, 555 (2007); Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Because a Rule

12(b)(6) motion tests the legal sufficiency of plaintiffs claims, a court need not accept as true

the legal conclusions a plaintiff draws from his factual allegations. See Schatz v. Rosenberg, 943

F.2d 485, 489 (4th Cir. 1991).

          Plaintiffs bring an ERISA breach of fiduciary duty claim based on 29 U.S.C. §

1132(a)(2). To advance such a claim, plaintiffs must establish that Ascensus Trust was a

fiduciary. Coleman v. Nationwide Life Ins. Co., 969 F.2d 54, 60-61 (4th Cir. 1992); Adams v.
2
 Defendants also argue that the amended complaint adds BDH Logistics LLC, Capitol
Expressways, Inc. as defendants. These companies are named defendants in the Secretary of
Labor's suit, thus it is clear that the Secretary was aware they were involved in the instant matter.

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Brink's Co., 261 F. App'x 583, 589-90 (4th Cir. 2008). Fiduciary status is not all or nothing,

however; "a court must ask whether a person is a fiduciary with respect to the particular activity

at issue." Coleman, 969 F.2d at 61. "[A] fiduciary has standing to bring [only] actions related to

the fiduciary responsibilities it possesses." Coyne & Delany Co. v. Selman, 98 F.3d 1457, 1465

(4th Cir. 1996) (quotation omitted). "A person or entity is only an ERIS A fiduciary if identified

as such in the plan documents, 29 U.S.C. § 1102(a)(2)" or if it meets the statutory definition in

29 U.S.C. § 1002((21)(A). Cuthie v. Fleet Reserve Ass 'n, 743 F.Supp.2d 486, 494 (D. Md.

2010). Under § 1002(21 )(A), "a person is a fiduciary with respect to a plan to the extent (i) he ..

. exercises any authority or control respecting management or disposition of its assets .... " 29

U.S.C. § 1002(21)(A)(i); see also John Hancock Mut. Lilfe Ins. Co. v. Harris Trust & Sav. Bank,

510 U.S. 86, 96 (1993) ("To help fulfill ERISA's broadly protective purposes, Congress

commodiously imposed fiduciary standards on persons whose actions affect the amount of

benefits retirement plan participants will receive.").

       Accordingly, the appropriate question is whether Ascensus Trust is a fiduciary with

regard to the making of employee contributions. The Court will first look to the plan documents

to determine whether they define Ascensus Trust as such. The Trust Agreement expressly states

that "[Ascensus Trust] shall have no liability for the adequacy of contributions to the Plan and no

responsibility to enforce the payment of such contributions." Trust Agreement § 4.03(b).

Similarly, the Basic Plan Document (BPD) expressly states that Ascensus Trust "shall have no

duty or responsibility for the determination of the accuracy or sufficiency of the contributions to

be made under the Plan, the collection thereof, the transmittal of the same to the Trustee ... or

the compliance with any statute, regulation, or rule applicable to such contributions." BPD §

8.07. Although in other places, the Trust Agreement does discuss Ascensus Trust's fiduciary



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obligations, these more specific provisions as to Ascensus Trust's role make clear that the Trust

Agreement and the BPD do not intend to confer fiduciary status on Ascensus Trust with regard

to the making of employee contributions. Defendant argues that the Trust Agreement and BPD

confer upon Ascensus Trust only the responsibility to manage invest of funds that were

transferred to it, not to ensure that the funds were deposited into the Plan.

       An ERISA plan, however, can also confer discretion "by terms which 'create discretion

by implication."' Woods v. Prudential Ins. Co. ofAm., 528 F.3d 320, 322 (4th Cir. 2008). In that

regard, the Trust Agreement provides that "[Ascensus Trust], who is acting solely as a directed

trustee, is authorized and directed ... to cause any property of the Trust to be issued, held, or

registered, in the individual name of the Trustee" and "to employ ... legal counsel, as the

Trustee determines to be reasonably necessary to manage and protect the assets of the Trust ... ;

and (e) to do all other acts necessary or desirable for the proper administration of the Trust

assets." Trust Agreement§ 3.01. This discretion is paralleled in the BPD, which states that

Ascensus Trust shall have the power and duty to take any action it deems necessary or advisable

"[t]o collect and receive any and all moneys, securities, or other property of whatsoever kind or

nature due or owing or belonging to the Fund." BPD § 8.02(B)(5).

       Thus, although defendant appears to have included language in the Plan to try to escape

responsibility for ensuring Plan contributions were made, the Trust Agreement and BPD

expressly provide that defendant is responsible for ensuring that Plan contributions were made.

Defendant's attempt to evade liability via the language in the Plan cannot take precedence over

the discretion conferred upon Ascensus Trust to manage contributions by the documents

themselves. Accordingly, defendant's attempt to evade liability is undermined by the explicit

language of the document.



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       Ascensus Trust argues that it is not a fiduciary because of its role as a directed trustee.

Section 403(a), 29 U.S.C. § 1103(a), the directed trustee provision, states in pertinent part that

"all assets of an employee benefit plan shall be held in trust by one or more trustees ... the

trustee shall have exclusive authority and discretion to manage and control the assets of the plan,

except to the extent that-(1) the plan expressly provides that the trustee ... [is] subject to the

direction of a named fiduciary who is not a trustee, in which case the trustees shall be subject to

proper directions of such fiduciary which are made in accordance with the terms of the plan and

which are not contrary to this chapter .... " 29 U.S.C. § 1103(a).

       Here, the Trust Agreement has two provisions describing Ascensus Trust as directed

trustee. The first, in the part of Section II entitled "Investment Responsibilities," states that

Ascensus Trust serves "solely as a directed trustee and will not exercise any discretion or

authority either with regard to investments or the administration of the plan." Similarly, in

Article I, the Trust Agreement states that defendant "is acting solely as a directed trustee and will

take direction from the Plan Administrator on any matter of Plan provision interpretation." These

provisions clearly provide that Ascensus Trust was to act as a directed trustee, at the direction of

a named fiduciary, with regard to the investments and administration of the Plan. This

description, however, does not relieve Ascensus Trust of control over Plan assets. Discretionary

authority to interpret or construe the terms of a Plan has no bearing on Ascensus Trust's

fiduciary obligation to ensure the Plan receives the funds to which it is entitled or to enforce the

Administrator's obligation to deposit contributions into the Plan. Accordingly, the Court finds

that Ascensus Trust is a fiduciary with respect to the making of employee contributions.

       This conclusion is supported not only by the relevant documents, but also by common

sense. This is a suit in equity. Ascensus Trust was in a superior position to know whether the



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contributions withheld were remitted to the Trust and therefore, was in a superior position to

police equity and do justice. The fact that it may have turned a blind eye to the lack of

contributions does not allow it to rely on a disclaimer to absolve itself of responsibility. As

Ascensus Trust is a fiduciary with respect to the making of employee contributions, the Court

can dismiss neither the breach of fiduciary duty nor recovery of benefits claim.

       Additionally, though the factual recitation as to Ascensus Trust is somewhat bare, the

Court finds that plaintiff has sufficiently alleged that Ascensus Trust had knowledge of the

delinquent contributions. [DE 81iii!26, 27, 32, 37, 42, 49, 53, 58, 66]. In light of the applicable

standard and the Court's finding that Ascensus Trust is a fiduciary, dismissal of the co-fiduciary

liability claim is not warranted at this time.

                                           CONCLUSION

   Accordingly, for the foregoing reasons, defendant's motion to dismiss [DE 86] is DENIED.




SO ORDERED, this frday of November, 2015.




                                                  ERRENCE W. BOYLE
                                                 UNITED STATES DISTRICT JU




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